       Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 1 of 8




Nicole Owens
Executive Director
Deborah A. Czuba, Idaho Bar No. 9648
Mary E. Spears, Indiana Bar No. 27353-49
Assistant Federal Defenders
Federal Defender Services of Idaho
702 W. Idaho Street, Suite 900
Boise, ID 83702
Telephone: (208) 331-5530
Facsimile: (208) 331-5559
ECF: Deborah_A_Czuba@fd.org
       Mary_Spears@fd.org

Attorneys for Plaintiff-Intervenor Thomas Eugene Creech

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF IDAHO

 GERALD ROSS PIZZUTO, JR.,                    )     CASE NO. 1:23-cv-0081-BLW
                                              )
              Plaintiff,                      )
 v.                                           )     MEMORANDUM IN SUPPORT
                                              )     OF MOTION TO INTERVENE
 RAUL LABRADOR, Attorney General,             )
 Idaho Attorney General’s Office, in his      )
 official capacity,                           )
                                              )
              Defendant.                      )
                                              )
                                              )
                                              )
                                              )
                                              )
                                              )

      Pursuant to Fed. Rs. Civ. P. 24(a)(2) and 24(b)(1)(B), Thomas Eugene Creech

seeks to intervene in the above-captioned case. Although he respectfully submits he

is entitled to intervene as of right, in the alternative he also seeks intervention by

permission of the Court.


MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 1
        Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 2 of 8




   I.      Mr. Creech is entitled to intervene as of right.

        According to Federal Rule of Civil Procedure 24(a)(2), the Court is obliged to

permit timely intervention in an action to anyone who, like Mr. Creech, has a

substantial interest in the case at hand that is not adequately protected by the

named plaintiff. Because Mr. Creech’s circumstances are not at odds with but also

not completely coextensive with Mr. Pizzuto’s with respect to the State of Idaho’s

faux executions, intervention as of right is appropriate here.

        The Ninth Circuit has set forth four requirements which must be met in

order to satisfy Rule 24(a)(2): (1) the applicant to intervene must have filed a timely

motion seeking such relief; (2) the applicant must have a “significantly protectable”

interest in the transaction which is the subject of the action; (3) disposition of the

action may “as a practical matter impair or impede” the applicant’s ability to protect

that interest; and (4) the applicant’s interest “must be inadequately represented by

the parties to the action.” California ex rel. Lockyer v. United States, 450 F.3d 436,

440 (9th Cir. 2006). 1 Determining whether intervention-of-right is appropriate is

not subject to strict or legalistic application of these factors; instead, courts “are

guided primarily by practical and equitable considerations. United States v. City of

Los Angeles, 288 F.3d 391, 397 (9th Cir. 2002). Finally, though the applicant to

intervene has the burden of proof on these four factors, the need to protect broad

access to the courts and promote efficient resolution of issues means that “Rule




1 In this pleading, unless otherwise noted, all internal quotation marks and

citations are omitted, and all emphasis is added.
MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 2
       Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 3 of 8




24(a)(2) is construed broadly in favor of intervenors[.]” Freedom from Religion

Found., Inc. v. Geithner, 644 F.3d 836, 841 (9th Cir. 2011); Wilderness Soc. v. U.S.

Forest Serv., 630 F.3d 1173, 1179 (9th Cir. 2011); United States ex rel. McGough v.

Covington Techs. Co., 967 F.2d 1391, 1394 (9th Cir. 1992).

      In determining whether an intervention request is timely, the court considers

the stage of the proceedings, any prejudice to other parties, and the reason for any

delay in making the request. Kalbers v. U.S. Dep’t of Justice, 22 F.4th 816, 822 (9th

Cir. 2021). There can be no argument that Mr. Creech’s motion is timely. Although

the complaint survived a Rule 12(b)(6) motion to dismiss (Dkt. 26) and a

preliminary injunction was entered as to Mr. Pizzuto on October 24, 2023 (Dkt. 31),

the instant case is still in such early stages that discovery has not yet commenced.

Nor would adding Mr. Creech as a plaintiff delay the proceedings because of

duplicative discovery, which can weigh against granting intervention as of right, see

Perry v. Proposition 8 Off. Proponents, 587 F.3d 947, 955 (9th Cir. 2009); as can be

seen by comparing Mr. Pizzuto’s Complaint with the attached Complaint-in-

Intervention, the two types of faux executions, though related, are distinct enough

that this would not be an issue. Because an injunction is in place as to Mr. Pizzuto,

neither he nor the State will be prejudiced by Mr. Creech joining the action. And

Mr. Creech filed the instant Motion to Intervene almost immediately after the facts

giving rise to his Complaint-in-Intervention, just 15 days after his botched

execution on February 28, 2024.




MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 3
       Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 4 of 8




      There can likewise be no argument that Mr. Creech has a significantly

protectable interest in the actions complained of in the underlying case, namely his

interest in not being tortured by faux executions by the part of the State of Idaho.

      But the disposition of this action may impair that interest, because Mr.

Pizzuto does not adequately represent Mr. Creech’s unique situation. Mr. Pizzuto

was faux-executed by a State which did not have the chemicals necessary to execute

him – “like dry firing in a mock execution or a game of Russian roulette[,]” in the

Court’s words. Dkt. 26 at 9. By contrast, as the Complaint-in-Intervention makes

clear, Mr. Creech’s faux execution took place in a world in which the State did have

those chemicals but still could not deploy them – the equivalent of a gun with a

bullet in the chamber but no one strong enough to pull the trigger.

      Both men face the prospect of multiple execution warrants sought by a State

unable to actually execute them. And both men seek the same remedy: a bar on the

State’s ability to obtain a death warrant until the State can demonstrate it can

actually carry out an execution. But a decision covering only Mr. Pizzuto’s unique

circumstances – that the threat of a pretend execution violates the Eighth

Amendment while the threat of an attempted execution might not – would impair

Mr. Creech’s interests. Conversely, this Court could issue a decision in Mr. Pizzuto’s

case that would extend to Mr. Creech’s circumstances and affect how it would be

obliged to resolve Mr. Creech’s related claim, but without Mr. Creech’s involvement

in the matter. Mr. Creech must be permitted to intervene to make his own case to

the Court, so that it may be satisfied that both instances of the State performing

MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 4
       Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 5 of 8




faux executions despite no ability to carry them out violates the Eighth

Amendment.

      Again, the “interest” test is not a strict tally of which precise statute or

provision or factual situation is at work with respect to which plaintiff. It is instead

“primarily a practical guide to disposing of lawsuits by involving as many

apparently concerned persons as is compatible with efficiency and due process.”

County of Fresno v. Andrus, 622 F.2d 436, 438 (9th Cir. 1980); see also Wilderness

Soc’y, 630 F.3d at 1179. Those practical concerns weigh heavily in favor of Mr.

Creech’s intervention here.

      Discussing the question of adequate representation in a different context –

that of permissive intervention as opposed to intervention as of right – the Ninth

Circuit has held that intervention is inappropriate where both the original party to

the action and the proposed intervenor will make the same arguments. See United

States ex rel. Richards v. Guerrero, 4 F.3d 749, 756 (9th Cir. 1993). But this is not a

concern here. What happened to Mr. Creech, though related through a common

question of law and through many overlapping factual circumstances, see also infra

Part II, is different in kind than what was done to Mr. Pizzuto. This is not, in other

words, a situation where intervention as of right is not justified because “mere[ ]

differences in [litigation] strategy” are all that distinguish the proposed plaintiffs.

See City of Los Angeles, 288 F.3d at 402-03. Mr. Creech’s and Mr. Pizzuto’s

circumstances are related but very different, and one cannot adequately represent




MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 5
         Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 6 of 8




the other in this matter. The Court should therefore grant Mr. Creech’s Motion to

Intervene and find that he is entitled to intervene in this action as of right.

   II.      In the alternative, Mr. Creech seeks permissive intervention.

         Should the Court disagree, however, intervention by leave of the Court is

more than justified as well. The factors relevant to that decision, which is left to the

broad discretion of the Court, see League of United Latin Am. Citizens v. Wilson, 131

F.3d 1297, 1307 (9th Cir. 1997), are similar to but slightly distinct from the factors

governing intervention as of right. Mr. Creech satisfies all of them.

         Specifically, Rule 24(b)(1)(B) allows for permissive intervention where the

application shows (1) “independent grounds for jurisdiction;” (2) that his motion to

intervene is timely; and (3) his claim and the main action share a common question

or law or fact. Perry, 587 F.3d at 955. The Court is also required by Rule 24(b)(3) to

consider whether intervention will “unduly delay or prejudice the adjudication of

the original parties’ rights.” Id. Finally, where a putative intervenor has satisfied

those requirements, the Court may also consider other factors in the exercise of its

discretion, such as the identity of interests between the proposed Plaintiff-

Intervenor and the named plaintiff and whether those interests can be adequately

represented absent intervention. See id.

         The clear timeliness of Mr. Creech’s Motion to Intervene and the fact that

intervention will not delay or prejudice either of the original parties are factors

addressed above; Mr. Creech incorporates those arguments here. And because his

claim is premised on federal-question jurisdiction and not a separate state-law

MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 6
          Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 7 of 8




question, the “independent ground[s] for jurisdiction” factor is likewise already

satisfied. Geithner, 644 F.3d at 843-44; see also Marshall v. Williams, 476 Fed.

App’x. 444, 444-45 (9th Cir. 2012). Finally, it is clear that Mr. Creech’s claim and

the original action share a common question of law: do a State’s faux executions

violate the Eighth Amendment, such that a death row inmate is entitled to

protection against further warrants? Again, although the iterations of that question

differ with respect to both Mr. Pizzuto and Mr. Creech, the question of law is the

same between both.

      This leaves only the matter, again, of identity of interests between the two

parties. As Mr. Creech argued above, there is a relationship between his claim and

Mr. Pizzuto’s but they are not identical, see Wilderness Soc’y, 630 F.3d at 1179, and

Mr. Pizzuto cannot vindicate his rights with respect to preventing another lethal

injection execution effort that is doomed to fail before it even begins. Intervention is

thus well warranted and well within the Court’s discretion to permit.

   III.     Conclusion

      Because Mr. Creech satisfies the requirements of Rule 24(a)(2), the Court

should authorize intervention as of right and need not reach the question of

permissive intervention. However, because both that rule and Rule 24(b)(1)(B) are

satisfied here, the Court can and should authorize intervention in any circumstance

and permit the filing of Mr. Creech’s Complaint-in-Intervention.




MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 7
       Case 1:23-cv-00081-BLW Document 33-1 Filed 03/14/24 Page 8 of 8




DATED this 14th day of March 2024.


                                               /s/ Mary E. Spears
                                               Mary E. Spears
                                               Deborah A. Czuba
                                               Federal Defender Services of Idaho




                           CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of March 2024, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system, which is
designed to send a Notice of Electronic Filing to persons including the following:

Karin Magnelli
Lead Deputy Attorney General
12299 North Orchard Street, Suite 110
Boise, ID 83706
kmagnell@idoc.idaho.gov

Kristina Schindele
Deputy Attorney General
12299 North Orchard Street, Suite 110
Boise, ID 83706
krschind@idoc.idaho.gov

Michael J. Elia
Special Deputy Attorney General
PO Box 6756
Boise, ID 83707
mje@melawfirm.net



                                               /s/ L. Hollis Ruggieri
                                               L. Hollis Ruggieri




MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE – Page 8
